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                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION
LEVELL WILEY,                                                       )
                                                                    )
                           Plaintiff,                               )    No. 09 C 3637
                                                                    )
v.                                                                  )    Judge Kennelly
                                                                    )    Magistrate Judge Cox
CITY OF CHICAGO, ILLINOIS, and CHICAGO                              )
POLICE OFFICERS C.C. BAUMAN, Star No. 15110,                        )
and J.L. PURKISS, Star No. 4801,                                    )
                     Defendants.                                    )

                                DEFENDANTS’ MOTIONS IN LIMINE1
         Defendants, City of Chicago and Chicago Police Officers C.C Bauman and J.L. Purkiss,

 by and through their attorneys, Johnson & Bell, Ltd., respectfully move this Court, in limine, as

 follows:

         1.       Evidence Regarding A “Code of Silence” or a “Blue Wall” Should Be Barred.

         Generalized allegations of a police “code of silence” or that police officers cover up for

 other police officers, i.e. “a blue wall” is akin to the conclusion that all politicians, when the public’s

 back is turned, accept bribes. In a court of law justice is dispensed based on evidence of articulated

 and proven facts, not on generalized assumptions and prejudices. Sanders v. City of Indianapolis,

 837 F. Supp. 959, 963 (S.D. Ind. 1992). The sole purpose for the introduction of this testimony or

 argument is to invoke images in the minds of jurors that officers run amok to protect their own like

 they have seen in so many movies. The jury’s decision must be based upon facts, not speculation or

 rumination regarding the general nature of police officers. In that regard this evidence is no

 different from bad acts evidence. Further, Plaintiff lacks a foundation to make this argument.


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  The parties in this matter have complied with the Court’s “Meet and Confer requirement” as it applies to these
 motions in limine. The parties were able to agree on several issues, and the remaining motions in limine, contained
 herein, are actually in dispute.
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Accordingly, pursuant to Rules 401, 402 and 403, Plaintiff should be barred from adducing or

presenting evidence of any alleged police “code of silence” or “blue wall,” Fed.R.Evid. 401, 402 &

403.

         2.     Argument Regarding Defendants Alleged Failure to Call Witnesses Should be
                Barred.

         Defendants anticipate that Plaintiff might attempt to argue that Defendants should have

called the other police officers who were on the scene of Plaintiff’s arrest. However, this is a civil

case, and as such, Plaintiff bears the burden of proving his case. Defendants are under no obligation

to put on a defense or call witnesses in order to support a verdict in their favor. Hence, Defendants

are under no duty to call any witnesses at trial, and any argument by Plaintiff to the contrary is error,

and would improperly shift the burden of proof to the Defendants.

         3.     Any argument or Implication of a conspiracy Should be Barred.

         Defendants seek to bar Plaintiff from arguing that any conspiracy or otherwise inappropriate

coordination of action existed in the Chicago Police Department. There is no conspiracy claim and

there are no other issues relating to a conspiracy for the jury to decide in this case, therefore such

evidence, arguments, and/or testimony is irrelevant under Federal Rule of Evidence 401.

         Any insinuation of a conspiracy is more prejudicial than probative under Federal Rule of

Evidence 403, as it would serve only to inflame the passions of the jury. Given the obvious

potential for prejudice to the Defendants if Plaintiff were allowed to make arguments regarding

these volatile issues, the only way to prevent significant prejudice is to bar Plaintiff from making

any reference to or insinuation of a “conspiracy,” “coverup,” or other improper agreement involving

the Defendant Officers and/or any member of the Chicago Police Department. Most importantly,

conspiracy is not a claim brought by Plaintiff, so the use of the word “conspiracy” or any variation

of the word should be prohibited.




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       If Plaintiff, his witnesses, or counsel are allowed to testify or argue that they believe the

Defendant Officers conferred with other police officers to “coverup” alleged misconduct, it would

only serve to confuse the jury, especially since other police officer witnesses will testify but are not

named as Defendants in this matter. There are no issues for the jury to decide relating to a

conspiracy, therefore any argument or implication that a conspiracy existed should be barred.

       4.      Bar any mention during jury selection or argument during voir dire which
               seeks to condition the jury to award a specific amount of money.

       Plaintiff’s counsel should not be permitted to inquire of the venire whether they think that

any amount of money is too little or too much for a certain type of case. These questions are

designed not to determine whether jurors will be fair and impartial, but rather designed to probe the

result that Plaintiff can expect from jurors in a particular case. This is not proper purpose of

questioning during voir dire; accordingly, it is appropriate for the Court to preclude such

questioning. Spray-Rite Service Corp v. Monsanto, 684 F.2d 1226 (7th Cir. 1982) (“a Golden Rule

appeal in which the jury is asked to put itself in the plaintiff’s position is universally recognized as

improper because it encourages the jury to depart from neutrality and to decide the case on the basis

of personal interest and bias, rather than on evidence”). See also Dotson v. Sears, Roebuck and Co.,

157 Ill.App.3d 1036, 1042 (1st Dist. 1987).

       5.      Bar Any Implication or testimony that Chicago Police Department Personnel
               are being paid by the City to appear in court and testify.

       Chicago Police Department employees will be testifying at trial. Defendants seek to bar

Plaintiff from making any statements or inferences that police personnel are being paid for their

time in court as it is irrelevant under Rule 401 and more prejudicial than probative under Rule 403.

       6.      Bar Any Evidence Or Testimony That The City Of Chicago Will Indemnify the
               Defendants. Fed. R. Evid. 411.




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       Plaintiff should not be permitted to argue or introduce evidence that the individual

Defendants may be indemnified by the City of Chicago for any portion of a judgment that might be

entered against them. Whether the City provides indemnity is irrelevant to the issue of whether the

Defendants are liable for any acts they allegedly committed. Reference to indemnity agreements

between employers and employees is similar to reference to liability insurance, which is prohibited

by Federal Rule of Evidence 411. See Laraz v. Holcomb, 16 F.3d 1513 (9th Cir. 1994) (holding that

instructions to a jury on indemnification in § 1983 action required a new trial); Green v. Baron, 879

F.2d 305, 310 (8th Cir. 1989) (stating that instructions concerning indemnification are extremely

prejudicial); See also, Lawson v. Trowbridge, 153 F3d. 368, 379 (7th Cir. 1998). Accordingly, all

evidence and argument of this nature should be barred.

       7.      To bar comment on the fact that Defendants have multiple attorneys
               representing them in this litigation or any references to the attorneys for
               Defendants as “City Lawyers,” or “the City.”

       During jury selection, openings, the presentation of evidence, and closing, Plaintiff’s

counsel may attempt to refer to Defendants’ attorneys as “City of Chicago lawyers,” “City

Lawyers,” or “the City.” The effect of these references will be to create an inference for the jury

that the City of Chicago not only represents the Defendants, but also that it will pay any judgment

that may be entered against them. Such an inference would be highly prejudicial to Defendants

because the jury may believe that since the City is the “deep pocket” it can award money to Plaintiff

regardless of the facts, as any jury award will have no impact upon Defendants. Walker v. City of

Chicago, 1992 U.S. Dist. LEXIS 16454, 91 C 3669 (N.D. Ill. Oct. 27, 1992).

       The Defendants stand in exactly the same position as a defendant who tenders defense of a

lawsuit to an insurance company. Under any insurance policy an insurance company provides

representation to a defendant when he is sued for a covered occurrence. In such a case, a plaintiff is




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not permitted to raise the issue that the defendant is being represented by the insurer or even imply

that the defendant has insurance that may pay any judgment. See Fed. R. Evid. 411.

       Here the Defendants are entitled to have the City of Chicago represent them in this civil suit.

To the jury, however, the fact that the City represents the Defendants is likely to lead to the

conclusion that the City represents the Defendants and is likely to lead to the conclusion that the

City will pay any judgment entered. Accordingly, any statement or suggestion that the Defendants

represented by City attorneys may lead the jury to conclude that there may be no personal risk to the

Defendants and lead the jury to conclude that there is no harm in entering a judgment against the

Defendants regardless of the evidence.

       8.      To bar reference to the disposition of the Plaintiff’s underlying criminal case.

       The plaintiff in this matter was arrested by the defendant officers on July 3, 2008, and was

subsequently charged with Unlawful Use of a Weapon and Possession of Cannabis under the laws

of the State of Illinois. On November 24, 2008, a judge sitting in the Circuit Court of Cook County

found the plaintiff not guilty of the criminal charges after a bench trial. Plaintiff now alleges that

the defendant officers falsely arrested him and subjected him to an unlawful search, among other

things, on July 3, 2008.

       Defendants move to bar Plaintiff, his counsel, and his witnesses from referencing that, on

November 24, 2008, a Circuit Court of Cook County Judge found the plaintiff “not guilty” after a

bench trial. Referencing the specifics of the criminal court finding will create extreme juror

confusion, and the probative value of this argument/testimony/evidence is greatly outweighed by

the prejudicial effect it will have on the defendants. Furthermore, this evidence is inadmissible

hearsay.




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       The validity of an arrest does not ultimately rest on the finding of guilt or innocence.

Pierson v. Ray, 386 U.S. 547, 555 (1967), overruled on other grounds by Harlow v. Fitzgerald, 457

U.S. 800 (1982). It is without question that probable cause is determined using information known

to police officers at the time that an arrest is made. Townsend v. Benya, 287 F.Supp.2d 868, 873

(N.D. Ill. 2003). Probable cause exists if, at the moment that the arrest was made, facts and

circumstances within the officer’s knowledge and about which he had reasonably trustworthy

information were sufficient to warrant a prudent person in believing that an offense had been

committed or was being committed. Bostic v. City of Chicago, 981 F.2d 965, 969 (7th Cir. 1992);

Sherrod v. Berry, 865 F.2d 802, 804 (7th Cir. 1988). In making such determinations, the jury must

stand in the officers’ shoes and conclude whether the officers’ actions were reasonable based on the

information they possessed and the judgment they exercised in responding to the situation. Sherrod,

856 F.2d at 804-805. An arrestee’s ability to “explain away seemingly damning facts does not

negate the existence of probable cause, even though it might provide a good defense should the case

go to trial.” Deng v. Sears, Roebuck, and Co., 552 F.3d 574, 577 (7th Cir. 2009).

       Knowledge of facts and circumstances obtained after the arrest (such as the eventual

dismissal of the charges) will do nothing but cloud the jury’s analysis of these crucial factors about

the existence of probable cause at the moment of arrest and the reasonableness of the defendants’

actions under the circumstances. There is no way to determine all of the factors that led the criminal

court judge to decide to find the plaintiff not guilty of the underlying criminal charge. Additionally,

there is no way to determine what extrinsic factors, outside the facts and circumstances known to

the officers when they arrested the plaintiff, were considered by the criminal court judge when he

issued this ruling. Because the criminal court finding could have been, and likely was, based on

factors in addition to the facts and circumstances known to the officers at the moment they arrested




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the plaintiff, it has no bearing on the issues to be determined in the present case, specifically

whether probable cause to arrest the plaintiff existed at the moment that the arrest was made.

       Similar to the plaintiff in Sterling v. Kasmierczak, the plaintiff here is expected to argue that

probable cause could not have existed to arrest the plaintiff because the plaintiff was ultimately

found not guilty of the underlying charges. 983 F.Supp. 1186 (N.D. Ill. 1997). However, the 7th

Circuit Court of Appeals has rejected this argument, holding that, “while probable cause requires

more than mere suspicion, it does not require that the evidence at the time of the arrest be

sufficient to prove the defendant's guilt beyond a reasonable doubt.” Id. quoting Bostic, 981 F.2d

at 968. The fact that a § 1983 plaintiff was later found not guilty of a crime does not mean that

probable cause did not exist to support the arrest for that crime. Id. citing Burns v. Ciniplex

Odeon, Inc., 1996 U.S. Dist. LEXIS 12886 at *10, No. 95 C 5280 (N.D. Ill. 1996)(Nordberg, J.).

       Because the disposition of the criminal case against the plaintiff has no probative value, it

should be barred as irrelevant under Federal Rule of Evidence 401. It should also be barred as more

prejudicial than probative under Federal Rule of Evidence 403. In Charles v. Cotter, the Court was

asked to consider a motion in limine seeking to bar evidence that criminal charges against a witness

had been dismissed.      867 F.Supp. 648 (N.D. Ill. 1994).         The court determined that such

evidence/argument was more prejudicial than probative and barred evidence about or reference to

the disposition of the case, explaining that, such evidence or argument would encourage “the

inference that [plaintiff’s] arrest was completely groundless” when the decision not to prosecute the

witness could have been based on factors having no bearing on the legality of the arrest. Id. at 662.

Evidence, argument, or reference to the disposition of the case here should be barred for the same

reasons. A finding of not guilty, as explained above, has no bearing on whether probable cause




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existed at the time that the defendant officers made the arrest of the plaintiff, and a mention of that

disposition will lead the jury to reach the same inference as feared in Charles.

       Finally, it should also be noted that the disposition of the criminal case against the plaintiff

here is also inadmissible hearsay. While Federal Rule of Evidence 803(22) specifically allows for

the admission of prior convictions, the rule does not allow for the admission of a dismissal for “no

probable cause.” Acquittals have been found to be inadmissible hearsay under this rule, United

States v. Viserto, 596 F.2d 531, 537 (2nd Cir. 1979). In addition to being inadmissible hearsay under

F.R.E. 803(22), acquittals have also been found to be irrelevant and more prejudicial than probative

United States v. Gambino, 818 F.Supp. 536 (E.D.N.Y. 1993). The disposition of the underlying

criminal case here should be barred as hearsay for the same reasons.

       Despite all of the above, defendants acknowledge that the plaintiff has asserted a malicious

prosecution claim against the defendants, and anticipate that the plaintiff’s will argue that the

disposition of the criminal case is necessary to establish the elements of that claim. Should the

Court determine that this is the case, the defendants request a jury instruction designed to inform the

jury of the differences in the burdens of proof in a civil case as opposed to a criminal case, an

additional instruction explaining to the jury that an acquittal does not have an effect on whether

probable cause existed at the moment the plaintiff was arrested, an additional instruction

emphasizing the definition of probable cause as outlined above, and an instruction limiting the use

of the criminal case disposition solely for the purpose of determining whether the “disposition of

case in a manner indicating innocence” element of malicious prosecution has been satisfied.

       9.      Reference to Chicago Police Department General Orders Should be Barred.

       It is anticipated that the plaintiff in this matter may seek to introduce, use, refer to, or elicit

testimony about Chicago Police Department general orders and/or special orders relating to the




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execution of search warrants or other subjects. These orders, and the procedures contained therein,

are not proper evidence on the issue of whether the Defendant Officers’ conduct was

unconstitutional, and the admission of this evidence would unduly prejudice the defendants, and

confuse the jury on the appropriate standard of liability.

        Violations of police department general orders do not amount to a constitutional violation,

and such evidence is therefore not relevant under Federal Rule of Evidence 401. Section 1983 was

designed to protect plaintiffs from violations of their constitutional rights, not violations of state law

or departmental regulations and guidelines. Davis v. Scherer, 468 U.S. 183, 194 (1984); Thompson

v. City of Chicago, 472 F.3d 444 (7th Cir. 2006); Klein v. Ryan, 847 F.2d 368, 374 (7th Cir. 1988).

Courts look to federal law, not state or municipal regulations, to determine the existence and scope

of personal liberties protected by the “reasonableness” standard under the Fourth Amendment.

Gordon v. Degelmann, 29 F.3d 295, 301 (7th Cir. 1994); Archie v. City of Racine, 847 F.2d 1211,

1215-1218 (7th Cir. 1988). Under §1983, the issue is whether an officer violated the Constitution,

not whether he should be disciplined by the local police force. Smith v. Freland, 954 F.2d 343, 347-

48 (6th Cir. 1992). Accordingly, whether the Defendant Officers here violated department rules or

regulations is irrelevant and immaterial.

        Moreover, the introduction of evidence that the Defendant Officers may have allegedly

violated some portion of a police department regulation or guideline would be far more prejudicial

than probative under Federal Rule of Evidence 403. It is extremely likely that a jury would be

confused about the standard for determining a constitutional violation if presented with such

evidence, and it is also likely that a juror presented with evidence of a “rules violation” would

assume, in spite of any cautionary instructions, that a constitutional violation had occurred.




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       The alleged violation of police department guidelines is also irrelevant to Plaintiff’s state

law claim, as under Illinois law a violation of self-imposed rules or guidelines, such as police

department regulations and general orders, do not normally establish or impose a legal duty.

Morton v. City of Chicago, 286 Ill.App.3d 444, 454 (1st Dist. 1997); Blankenship v. Peoria Park

District¸269 Ill.App.3d 416, 422-423 (3rd Dist. 1995). It is also well settled in Illinois that such a

violation would not even constitute evidence of negligence, let alone willful and wanton conduct.

Morton, 286 Ill.App.3d at 454.

       Based on all of the above, any alleged violation of Chicago Police Department regulations,

and any attempt to introduce, use, refer to, or elicit testimony about Chicago Police Department

regulations, should be barred as inadmissible under Federal Rules of Evidence 401, 402, and 403.

       Defendants respectfully request that the Court enter Orders in limine consistent with the

relief sought by these Motions.

                                               Respectfully submitted,

                                               /s/ Brian P. Gainer
                                               One of the Attorneys for the Defendants

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